
In an action for goods sold and delivered, order denying motion of plaintiff for summary judgment reversed on the law, with $10 costs and disbursements, and the motion granted, with $10 costs. Plaintiff has shown that the merchandise constituting the bulk of the goods sold and delivered was delivered pursuant to written order, containing *882conditions which negate the claim that there had been an oral arrangement subject to certain alleged conditions. The order is complete in every respect and the failure to fill in the space under “approved credit ”, in the light of the delivery of the merchandise and the absence of any controversy over credit terms, is immaterial. Carswell, Acting P. J., Johnston, Adel, Wenzel and MaeCrate, JJ., concur.
